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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION


 JERRY MCKINNEY                                    CASE NO. 1:19-CV-01339

 VERSUS                                            JUDGE DRELL

 SHERIFFS OFFICE RAPIDES PARISH ET AL MAGISTRATE JUDGE PEREZ-MONTES

                                    MINUTES OF COURT:
                                      Status Conference
Date:               February 11, 2020 Presiding: Magistrate Judge Joseph H. L. Perez-Montes
Court Opened:       3:30 p.m.          Courtroom Deputy:           Greta Roaix
Court Adjourned:    4:15 p.m.          Court Reporter:             LCR
Statistical Time:   00:45              Courtroom:                  3rd Floor Courtroom

                                      APPEARANCES
  Kerry A Murphy                            For   Plaintiff
  Eli Jules Meaux                           For   Defendants

                                      PROCEEDINGS

 STATUS CONFERENCE on Plan of Work (rec. doc. 8)

 RULING/COMMENTS:
